9:03 AM
10/05/21                                                  Case 21-60052 Document Scott
                                                                                 89-3 V.  VaninDyke
                                                                                       Filed    TXSB on 12/13/21 Page 1 of 7
Accrual Basis                                                                    5 Year Projection

                                January      February        March          April          May          June          July          August      September     October      November     December     Total


                  2021
Income
    Salary                            0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
Total Income                          0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
Expense
    Automobile Expense                0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Wells Fargo-Auto Loan             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Title Max - Auto Loan             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00                      0.00       0.00
    Bank Service Charges              0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Cadence Bank-Mortgage             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Cadence Bank Pre-petiion          0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Cadence Bank Post-Pet.            0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Clothing                          0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Food and Housekeeping             0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Insurance-Homeowner               0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Insurance-Car                     0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Lawn & Tree Care                  0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Medical Insurance                 0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Medical                           0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Miscellaneous                     0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Homeowner Dues/Month              0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Pet-Expense                       0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Pool Maintenance                  0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Property Tax/Month                0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Property Taxes Past Due           0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Repairs                           0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Telephone-Internet                0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    General Unsecurted Claims         0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Utilities                         0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
    Sub V Trustee Fees                                                                                                                                                                        0.00       0.00
    Professional Fees                                                                                                                                                                         0.00       0.00
Total Expense                         0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00
Cash at end of Month                  0.00         0.00              0.00           0.00         0.00          0.00          0.00        0.00          0.00         0.00         0.00         0.00       0.00



                                                                                                                                                                                                       Page 1 of 7
9:03 AM
10/05/21                                                   Case 21-60052 Document Scott
                                                                                  89-3 V.  VaninDyke
                                                                                        Filed    TXSB on 12/13/21 Page 2 of 7
Accrual Basis                                                                     5 Year Projection

                                January      February         March          April          May          June           July          August       September     October      November      December        Total
Annual Cumulative                     0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00
5-Year Cummulative                    0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00


                  2022
Income
    Salary                       60,000.00    60,000.00       60,000.00      60,000.00      60,000.00    60,000.00     60,000.00      60,000.00      60,000.00    60,000.00     60,000.00     60,000.00   720,000.00
Total Income                     60,000.00    60,000.00       60,000.00      60,000.00      60,000.00    60,000.00     60,000.00      60,000.00      60,000.00    60,000.00     60,000.00     60,000.00   720,000.00
Expense
    Automobile Expense             -186.67      -186.67         -186.67        -186.67        -186.67      -186.67       -186.67        -186.67        -186.67      -186.67       -186.67       -186.67     -2,240.04
    Wells Fargo-Auto Loan          -376.89      -376.89         -376.89        -376.89        -376.89      -376.89       -376.89        -376.89        -376.89      -376.89       -376.89       -376.89     -4,522.68
    Title Max Auto Loan            -224.66      -224.66         -224.66        -224.66        -224.66      -224.66       -224.66        -224.66        -224.66      -224.66       -224.66       -224.66     -2,695.92
    Bank Service Charges            -35.00        -35.00          -35.00         -35.00         -35.00       -35.00        -35.00         -35.00        -35.00       -35.00        -35.00        -35.00       -420.00
    Cadence Bank-Mortgage       -22,516.00    -22,516.00      -22,516.00     -22,516.00     -22,516.00   -22,516.00    -22,516.00     -22,516.00    -22,516.00   -22,516.00    -22,516.00    -22,516.00   -270,192.00
    Cadence Bank Prepetition     -1,904.50     -1,904.50       -1,904.50      -1,904.50      -1,904.50    -1,904.50     -1,904.50      -1,904.50     -1,904.50    -1,904.50     -1,904.50     -1,904.50    -22,854.00
    Cadence Bank Post-Pet.       -1,867.53     -1,867.53       -1,867.53      -1,867.53      -1,867.53    -1,867.53     -1,867.53      -1,867.53     -1,867.53    -1,867.53     -1,867.53     -1,867.53    -22,410.36
    Clothing                          0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Food and Housekeeping        -1,248.00     -1,248.00       -1,248.00      -1,248.00      -1,248.00    -1,248.00     -1,248.00      -1,248.00     -1,248.00    -1,248.00     -1,248.00     -1,248.00    -14,976.00
    Insurance-Homeowner          -1,460.56     -1,460.56       -1,460.56      -1,460.56      -1,460.56    -1,460.56     -1,460.56      -1,460.56     -1,460.56    -1,460.56     -1,496.56     -1,496.56    -17,598.72
    Insurance-Car                  -256.09      -256.09         -256.09        -256.09        -256.09      -256.09       -256.09        -256.09        -256.09      -256.09       -256.09       -256.09     -3,073.08
    Lawn & Tree Care               -483.00      -483.00         -486.00        -483.00        -483.00      -483.00       -483.00        -483.00        -483.00      -483.00       -483.00       -483.00     -5,799.00
    Medical Insurance              -807.00      -807.00         -807.00        -807.00        -807.00      -807.00       -807.00        -807.00        -807.00      -807.00       -807.00       -807.00     -9,684.00
    Medical                        -639.00      -639.00         -639.00        -639.00        -639.00      -639.00       -639.00        -639.00        -639.00      -639.00       -639.00       -639.00     -7,668.00
    Miscellaneous                  -135.00      -135.00         -135.00        -135.00        -135.00      -135.00       -135.00        -135.00        -135.00      -135.00       -135.00       -135.00     -1,620.00
    Homeowner Dues/Month           -333.00      -333.00         -333.00        -333.00        -333.00      -333.00       -334.00        -333.00        -333.00      -334.00       -334.00       -334.00     -4,000.00
    Pet-Expense                    -525.00      -343.00         -525.00        -343.00        -525.00      -343.00       -525.00        -343.00        -525.00      -343.00       -525.00       -343.00     -5,208.00
    Pool Maintenance               -167.00      -167.00         -167.00        -167.00        -167.00      -167.00       -167.00        -167.00        -167.00      -167.00       -167.00       -167.00     -2,004.00
    Property Tax/Month           -7,333.00     -7,333.00       -7,333.00      -7,333.00      -7,333.00    -7,333.00     -7,333.00      -7,333.00     -7,333.00    -7,333.00     -7,333.00     -7,333.00    -87,996.00
    Property Taxes Past Due      -5,770.66     -5,770.66       -5,770.66      -5,770.66      -5,770.66    -5,770.66     -5,770.66      -5,770.66     -5,770.66    -5,770.66     -5,770.66     -5,770.66    -69,247.92
    Repairs                      -1,500.00     -1,500.00       -1,500.00      -1,500.00      -1,500.00    -1,500.00     -1,500.00      -1,500.00     -1,500.00    -1,500.00     -1,500.00     -1,500.00    -18,000.00
    Telephone-Internet             -192.00      -192.00         -192.00        -192.00        -192.00      -192.00       -192.00        -192.00        -192.00      -192.00       -192.00       -192.00     -2,304.00
    General Unsecurted Claims    -5,000.00     -5,000.00       -5,000.00      -5,000.00      -5,000.00    -5,000.00     -5,000.00      -5,000.00     -5,000.00    -5,000.00     -5,000.00     -5,000.00    -60,000.00
    Utilities                    -1,850.00     -1,825.00       -1,852.00      -1,850.00      -1,835.00    -1,800.00     -1,875.00      -1,875.00     -1,875.00    -1,875.00     -1,875.00     -1,875.00    -22,262.00
    Sub V Trustee Fees           -2,500.00     -2,500.00       -2,500.00                                                                                                                                    -7,500.00
    Professional Fees            -3,500.00     -3,500.00       -3,500.00                                                                                                                                   -10,500.00



                                                                                                                                                                                                              Page 2 of 7
9:03 AM
10/05/21                                                   Case 21-60052 Document Scott
                                                                                  89-3 V.  VaninDyke
                                                                                        Filed    TXSB on 12/13/21 Page 3 of 7
Accrual Basis                                                                     5 Year Projection

                                January      February         March          April          May          June           July          August       September     October      November      December        Total
Total Expense                   -60,810.56    -60,603.56      -60,815.56     -54,628.56     -54,795.56   -54,578.56    -54,836.56     -54,653.56    -54,835.56   -54,654.56    -54,872.56    -54,690.56   -674,775.72
Cash at end of Month               -810.56       -603.56        -815.56       5,371.44       5,204.44     5,421.44      5,163.44        5,346.44      5,164.44     5,345.44      5,127.44      5,309.44    45,224.28
Annual Cumulative                  -810.56     -1,414.12       -2,229.68      3,141.76       8,346.20    13,767.64     18,931.08      24,277.52      29,441.96    34,787.40     39,914.84     45,224.28
5-Year Cummulative                 -810.56     -1,414.12       -2,229.68      3,141.76       8,346.20    13,767.64     18,931.08      24,277.52      29,441.96    34,787.40     39,914.84     45,224.28


                  2023
Income
    Salary                       60,000.00    60,000.00       60,000.00      60,000.00      60,000.00    60,000.00     60,000.00      60,000.00      60,000.00    60,000.00     60,000.00     60,000.00   720,000.00
Total Income                     60,000.00    60,000.00       60,000.00      60,000.00      60,000.00    60,000.00     60,000.00      60,000.00      60,000.00    60,000.00     60,000.00     60,000.00   720,000.00
Expense
    Automobile Expense             -205.00      -205.00         -205.00        -205.00        -205.00      -205.00       -205.00        -205.00        -205.00      -205.00       -205.00       -205.00     -2,460.00
    Wells Fargo-Auto Loan          -376.89      -376.89         -376.89        -376.89        -376.89      -376.89       -376.89        -376.89        -376.89      -376.89       -376.89       -376.89     -4,522.68
    Title Max Auto Loan            -224.66      -224.66         -224.66        -224.66        -224.66      -224.66       -224.66        -224.66        -224.66      -224.66       -224.66       -224.66     -2,695.92
    Bank Service Charges            -35.00        -35.00          -35.00         -35.00         -35.00       -35.00        -35.00         -35.00        -35.00       -35.00        -35.00        -35.00       -420.00
    Cadence Bank-Mortgage       -22,516.00    -22,516.00      -22,516.00     -22,516.00     -22,516.00   -22,516.00    -22,516.00     -22,516.00    -22,516.00   -22,516.00    -22,516.00    -22,516.00   -270,192.00
    Cadence Bank Prepetition     -1,904.50     -1,904.50       -1,904.50      -1,904.50      -1,904.50    -1,904.50     -1,904.50      -1,904.50     -1,904.50    -1,904.50     -1,904.50     -1,904.50    -22,854.00
    Cadence Bank Post-Pet.       -1,867.53     -1,867.53       -1,867.53      -1,867.53      -1,867.53    -1,867.53     -1,867.53      -1,867.53     -1,867.53    -1,867.53     -1,867.53     -1,867.53    -22,410.36
    Clothing                          0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Food and Housekeeping        -1,248.00     -1,248.00       -1,248.00      -1,248.00      -1,248.00    -1,248.00     -1,248.00      -1,248.00     -1,248.00    -1,248.00     -1,248.00     -1,248.00    -14,976.00
    Insurance-Homeowner          -1,496.56     -1,496.56       -1,496.56      -1,496.56      -1,496.56    -1,496.56     -1,496.56      -1,496.56     -1,496.56    -1,496.56     -1,532.56     -1,532.56    -18,030.72
    Insurance-Car                  -256.09      -256.09         -256.09        -256.09        -256.09      -256.09       -256.09        -256.09        -256.09      -256.09       -256.09       -256.09     -3,073.08
    Lawn & Tree Care               -486.00      -486.00         -486.00        -486.00        -486.00      -486.00       -486.00        -486.00        -486.00      -486.00       -486.00       -486.00     -5,832.00
    Medical Insurance              -807.00      -807.00         -807.00        -855.00        -855.00      -855.00       -855.00        -855.00        -855.00      -855.00       -855.00       -855.00    -10,116.00
    Medical                        -451.00      -451.00         -451.00        -451.00        -451.00      -451.00       -451.00        -451.00        -451.00      -451.00       -451.00       -451.00     -5,412.00
    Miscellaneous                  -135.00      -135.00         -135.00        -135.00        -135.00      -135.00       -135.00        -135.00        -135.00      -135.00       -135.00       -135.00     -1,620.00
    Homeowner Dues/Month           -333.00      -334.00         -333.00        -334.00        -333.00      -334.00       -333.00        -334.00        -333.00      -333.00       -333.00       -333.00     -4,000.00
    Pet-Expense                    -525.00      -343.00         -525.00        -343.00        -525.00      -343.00       -525.00        -343.00        -525.00      -343.00       -525.00       -343.00     -5,208.00
    Pool Maintenance               -175.00      -175.00         -175.00        -175.00        -175.00      -175.00       -175.00        -175.00        -175.00      -175.00       -175.00       -175.00     -2,100.00
    Property Tax/Month           -6,600.00     -6,600.00       -6,600.00      -6,600.00      -6,600.00    -6,600.00     -6,600.00      -6,600.00     -6,600.00    -6,600.00     -6,600.00     -6,600.00    -79,200.00
    Property Taxes Past Due      -5,770.66     -5,770.66       -5,770.66      -5,770.66      -5,770.66    -5,770.66     -5,770.66      -5,770.66     -5,770.66    -5,770.66     -5,770.66     -5,770.66    -69,247.92
    Repairs                      -1,500.00     -1,500.00       -1,500.00      -1,500.00      -1,500.00    -1,500.00     -1,500.00      -1,500.00     -1,500.00    -1,500.00     -1,500.00     -1,500.00    -18,000.00
    Telephone-Internet             -192.00      -192.00         -192.00        -192.00        -192.00      -192.00       -192.00        -192.00        -192.00      -192.00       -192.00       -192.00     -2,304.00
    General Unsecurted Claims   -10,000.00    -10,000.00      -10,000.00     -10,000.00     -10,000.00   -10,000.00    -10,000.00     -10,000.00    -10,000.00   -10,000.00    -10,000.00    -10,000.00   -120,000.00
    Utilities                    -2,062.00     -2,062.00       -2,062.00      -2,062.00      -2,062.00    -2,062.00     -2,062.00      -2,062.00     -2,062.00    -2,062.00     -2,062.00     -2,062.00    -24,744.00



                                                                                                                                                                                                              Page 3 of 7
9:03 AM
10/05/21                                                   Case 21-60052 Document Scott
                                                                                  89-3 V.  VaninDyke
                                                                                        Filed    TXSB on 12/13/21 Page 4 of 7
Accrual Basis                                                                     5 Year Projection

                                January      February         March          April          May          June           July          August       September     October      November      December        Total
Total Expense                   -59,166.89    -58,985.89      -59,166.89     -59,033.89     -59,214.89   -59,033.89    -59,214.89     -59,033.89    -59,214.89   -59,032.89    -59,250.89    -59,068.89   -709,418.68
Cash at end of Month                833.11      1,014.11         833.11         966.11         785.11       966.11        785.11         966.11         785.11       967.11       749.11        931.11     10,581.32
Annual Cumulative                   833.11      1,847.22       2,680.33       3,646.44       4,431.55     5,397.66      6,182.77        7,148.88      7,933.99     8,901.10      9,650.21     10,581.32
5-Year Cummulative               46,057.39    47,071.50       47,904.61      48,870.72      49,655.83    50,621.94     51,407.05      52,373.16      53,158.27    54,125.38     54,874.49     55,805.60


                  2024
Income
    Salary                       70,000.00    70,000.00       70,000.00      70,000.00      70,000.00    70,000.00     70,000.00      70,000.00      70,000.00    70,000.00     70,000.00     70,000.00   840,000.00
Total Income                     70,000.00    70,000.00       70,000.00      70,000.00      70,000.00    70,000.00     70,000.00      70,000.00      70,000.00    70,000.00     70,000.00     70,000.00   840,000.00
Expense
    Automobile Expense             -245.00       -245.00        -245.00        -245.00        -245.00      -245.00       -245.00         -245.00       -245.00      -245.00       -245.00       -245.00     -2,940.00
    Wells Fargo-Auto Loan             0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Title Max Auto Loan            -224.66       -224.66        -224.66        -224.66        -224.66      -224.66       -224.66         -224.66       -224.66      -224.66       -224.66       -224.66     -2,695.92
    Bank Service Charges            -35.00        -35.00          -35.00         -35.00         -35.00       -35.00        -35.00         -35.00        -35.00       -35.00        -35.00        -35.00       -420.00
    Cadence Bank-Mortgage       -22,516.00    -22,516.00      -22,516.00     -22,516.00     -22,516.00   -22,516.00    -22,516.00     -22,516.00    -22,516.00   -22,516.00    -22,516.00    -22,516.00   -270,192.00
    Cadence Bank Prepetition     -1,904.50     -1,904.50       -1,904.50      -1,904.50      -1,904.50    -1,904.50     -1,904.50      -1,904.50     -1,904.50    -1,904.50     -1,904.50     -1,904.50    -22,854.00
    Cadence Bank Post-Pet.       -1,867.58     -1,867.58       -1,867.58      -1,867.58      -1,867.58    -1,867.58     -1,867.58      -1,867.58     -1,867.58    -1,867.58     -1,867.58     -1,867.58    -22,410.96
    Clothing                          0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Food and Housekeeping        -1,372.00     -1,372.00       -1,372.00      -1,372.00      -1,372.00    -1,372.00     -1,372.00      -1,372.00     -1,372.00    -1,372.00     -1,372.00     -1,372.00    -16,464.00
    Insurance-Homeowner          -1,532.56     -1,532.56       -1,532.56      -1,532.56      -1,532.56    -1,532.56     -1,532.56      -1,532.56     -1,532.56    -1,532.56     -1,568.56     -1,568.56    -18,462.72
    Insurance-Car                  -256.09       -256.09        -256.09        -256.09        -256.09      -256.09       -256.09         -256.09       -256.09      -256.09       -256.09       -256.09     -3,073.08
    Lawn & Tree Care               -486.00       -486.00        -486.00        -486.00        -486.00      -486.00       -486.00         -486.00       -486.00      -486.00       -486.00       -486.00     -5,832.00
    Medical Insurance              -855.00       -855.00        -855.00        -906.00        -906.00      -906.00       -906.00         -906.00       -906.00      -906.00       -906.00       -906.00    -10,719.00
    Medical                        -435.00       -435.00        -435.00        -435.00        -435.00      -435.00       -435.00         -435.00       -435.00      -435.00       -435.00       -435.00     -5,220.00
    Miscellaneous                  -135.00       -144.00        -135.00        -144.00        -135.00      -144.00       -144.00         -135.00       -135.00      -135.00       -144.00       -144.00     -1,674.00
    Homeowner Dues/Month           -333.00       -334.00        -333.00        -334.00        -333.00      -333.00       -333.00         -334.00       -333.00      -333.00       -333.00       -334.00     -4,000.00
    Pet-Expense                    -343.00       -525.00        -343.00        -525.00        -343.00      -525.00       -343.00         -525.00       -343.00      -525.00       -343.00       -525.00     -5,208.00
    Pool Maintenance               -200.00       -200.00        -200.00        -200.00        -200.00      -200.00       -200.00         -200.00       -200.00      -200.00       -200.00       -200.00     -2,400.00
    Property Tax/Month           -6,600.00     -6,600.00       -6,600.00      -6,600.00      -6,600.00    -6,600.00     -6,600.00      -6,600.00     -6,600.00    -6,600.00     -6,600.00     -6,600.00    -79,200.00
    Property Taxes Past Due      -5,770.66     -5,770.66       -5,770.66      -5,770.66      -5,770.66    -5,770.66     -5,770.66      -5,770.66     -5,770.66    -5,770.66     -5,770.66     -5,770.66    -69,247.92
    Repairs                      -1,500.00     -1,500.00       -1,500.00      -1,500.00      -1,500.00    -1,500.00     -1,500.00      -1,500.00     -1,500.00    -1,500.00     -1,500.00     -1,500.00    -18,000.00
    Telephone-Internet             -192.00       -192.00        -192.00        -192.00        -192.00      -192.00       -192.00         -192.00       -192.00      -192.00       -192.00       -192.00     -2,304.00
    General Unsecurted Claims   -20,000.00    -20,000.00      -20,000.00     -20,000.00     -20,000.00   -20,000.00    -20,000.00     -20,000.00    -20,000.00   -20,000.00    -20,000.00    -20,000.00   -240,000.00
    Utilities                    -2,268.00     -2,268.00       -2,268.00      -2,268.00      -2,268.00    -2,268.00     -2,268.00      -2,268.00     -2,268.00    -2,268.00     -2,268.00     -2,268.00    -27,216.00



                                                                                                                                                                                                              Page 4 of 7
9:03 AM
10/05/21                                          Case 21-60052 Document Scott
                                                                         89-3 V.  VaninDyke
                                                                               Filed    TXSB on 12/13/21 Page 5 of 7
Accrual Basis                                                            5 Year Projection

                       January      February         March        April        May          June          July        August       September     October      November      December        Total
Total Expense          -69,071.05    -69,263.05      -69,071.05   -69,314.05   -69,122.05   -69,313.05   -69,131.05   -69,305.05    -69,122.05   -69,304.05    -69,167.05    -69,350.05   -830,533.60
Cash at end of Month       928.95       736.95          928.95       685.95       877.95       686.95       868.95       694.95         877.95       695.95       832.95        649.95      9,466.40
Annual Cumulative          928.95      1,665.90       2,594.85     3,280.80     4,158.75     4,845.70     5,714.65      6,409.60      7,287.55     7,983.50      8,816.45      9,466.40
5-Year Cummulative      56,734.55    57,471.50       58,400.45    59,086.40    59,964.35    60,651.30    61,520.25    62,215.20      63,093.15    63,789.10     64,622.05     65,272.00




                                                                                                                                                                                              Page 5 of 7
9:03 AM
10/05/21                                                   Case 21-60052 Document Scott
                                                                                  89-3 V.  VaninDyke
                                                                                        Filed    TXSB on 12/13/21 Page 6 of 7
Accrual Basis                                                                     5 Year Projection

                                January      February         March          April          May          June           July          August       September     October      November      December        Total


                  2025
Income
    Salary                       60,000.00    60,000.00       60,000.00      60,000.00      60,000.00    60,000.00     60,000.00      60,000.00      60,000.00    60,000.00     60,000.00     60,000.00   720,000.00
Total Income                     60,000.00    60,000.00       60,000.00      60,000.00      60,000.00    60,000.00     60,000.00      60,000.00      60,000.00    60,000.00     60,000.00     60,000.00   720,000.00
Expense
    Automobile Expense             -245.00       -245.00        -245.00        -245.00        -245.00      -245.00       -245.00         -245.00       -245.00      -245.00       -245.00       -245.00     -2,940.00
    Wells Fargo-Auto Loan             0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Title Max Auto Loan            -224.66       -224.66        -224.66        -224.66        -224.66      -224.66       -224.66         -224.66       -224.66      -224.66       -224.66       -224.66     -2,695.92
    Bank Service Charges            -35.00        -35.00          -35.00         -35.00         -35.00       -35.00        -35.00         -35.00        -35.00       -35.00        -35.00        -35.00       -420.00
    Cadence Bank-Mortgage       -22,516.00    -22,516.00      -22,516.00     -22,516.00     -22,516.00   -22,516.00    -22,516.00     -22,516.00    -22,516.00   -22,516.00    -22,516.00    -22,516.00   -270,192.00
    Cadence Bank Prepetition     -1,904.50     -1,904.50       -1,904.50      -1,904.50      -1,904.50    -1,904.50     -1,904.50      -1,904.50     -1,904.50    -1,904.50     -1,904.50     -1,904.50    -22,854.00
    Cadence Bank Post-Pet.       -1,867.58     -1,867.58       -1,867.58      -1,867.58      -1,867.58    -1,867.58     -1,867.58      -1,867.58     -1,867.58    -1,867.58     -1,867.58     -1,867.58    -22,410.96
    Clothing                          0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Food and Housekeeping        -1,509.00     -1,509.00       -1,509.00      -1,509.00      -1,509.00    -1,509.00     -1,509.00      -1,509.00     -1,509.00    -1,509.00     -1,509.00     -1,509.00    -18,108.00
    Insurance-Homeowner          -1,568.56     -1,568.56       -1,568.56      -1,568.56      -1,568.56    -1,568.56     -1,568.56      -1,568.56     -1,568.56    -1,568.56     -1,604.56     -1,604.56    -18,894.72
    Insurance-Car                  -176.09       -176.09        -176.09        -176.09        -176.09      -176.09       -176.09         -176.09       -176.09      -176.09       -176.09       -176.09     -2,113.08
    Lawn & Tree Care               -445.00       -445.00        -445.00        -445.00        -445.00      -445.00       -445.00         -445.00       -445.00      -445.00       -445.00       -445.00     -5,340.00
    Medical Insurance              -906.00       -906.00        -906.00        -960.00        -960.00      -960.00       -960.00         -960.00       -960.00      -960.00       -960.00       -960.00    -11,358.00
    Medical                        -435.00       -435.00        -435.00        -435.00        -435.00      -435.00       -435.00         -435.00       -435.00      -435.00       -435.00       -435.00     -5,220.00
    Miscellaneous                  -135.00       -144.00        -135.00        -144.00        -135.00      -144.00       -144.00         -135.00       -135.00      -144.00       -144.00       -144.00     -1,683.00
    Homeowner Dues/Month           -334.00       -333.00        -334.00        -333.00        -333.00      -334.00       -333.00         -333.00       -333.00      -333.00       -333.00       -334.00     -4,000.00
    Pet-Expense                    -525.00       -343.00        -525.00        -525.00        -343.00      -525.00       -343.00         -525.00       -343.00      -525.00       -343.00       -525.00     -5,390.00
    Pool Maintenance               -216.00       -216.00        -216.00        -216.00        -216.00      -216.00       -216.00         -216.00       -216.00      -216.00       -216.00       -216.00     -2,592.00
    Property Tax/Month           -6,600.00     -6,600.00       -6,600.00      -6,600.00      -6,600.00    -6,600.00     -6,600.00      -6,600.00     -6,600.00    -6,600.00     -6,600.00     -6,600.00    -79,200.00
    Property Taxes Past Due      -5,770.66     -5,770.66       -5,770.66      -5,770.66      -5,770.66    -5,770.66     -5,770.66      -5,770.66     -5,770.66    -5,770.66     -5,770.66     -5,770.66    -69,247.92
    Repairs                      -1,500.00     -1,500.00       -1,500.00      -1,500.00      -1,500.00    -1,500.00     -1,500.00      -1,500.00     -1,500.00    -1,500.00     -1,500.00     -1,500.00    -18,000.00
    Telephone-Internet             -192.00       -192.00        -192.00        -192.00        -192.00      -192.00       -192.00         -192.00       -192.00      -192.00       -192.00       -192.00     -2,304.00
    General Unsecurted Claims   -10,000.00    -10,000.00      -10,000.00     -10,000.00     -10,000.00   -10,000.00    -10,000.00     -10,000.00    -10,000.00   -10,000.00    -10,000.00    -10,000.00   -120,000.00
    Utilities                    -2,350.00     -2,350.00       -2,350.00      -2,350.00      -2,350.00    -2,350.00     -2,350.00      -2,350.00     -2,350.00    -2,350.00     -2,350.00     -2,350.00    -28,200.00
Total Expense                   -59,455.05    -59,281.05      -59,455.05     -59,517.05     -59,326.05   -59,518.05    -59,335.05     -59,508.05    -59,326.05   -59,517.05    -59,371.05    -59,554.05   -713,163.60
Cash at end of Month                544.95       718.95          544.95         482.95         673.95       481.95        664.95         491.95         673.95       482.95       628.95        445.95      6,836.40
Annual Cumulative                   544.95      1,263.90       1,808.85       2,291.80       2,965.75     3,447.70      4,112.65        4,604.60      5,278.55     5,761.50      6,390.45      6,836.40
5-Year Cummulative               65,816.95    66,535.90       67,080.85      67,563.80      68,237.75    68,719.70     69,384.65      69,876.60      70,550.55    71,033.50     71,662.45     72,108.40



                                                                                                                                                                                                              Page 6 of 7
9:03 AM
10/05/21                                                   Case 21-60052 Document Scott
                                                                                  89-3 V.  VaninDyke
                                                                                        Filed    TXSB on 12/13/21 Page 7 of 7
Accrual Basis                                                                     5 Year Projection

                                January      February         March          April          May          June           July          August       September     October      November      December        Total


                  2026
Income
    Salary                       50,000.00    50,000.00       50,000.00      50,000.00      50,000.00    50,000.00     50,000.00      50,000.00      50,000.00    50,000.00     50,000.00     50,000.00   600,000.00
Total Income                     50,000.00    50,000.00       50,000.00      50,000.00      50,000.00    50,000.00     50,000.00      50,000.00      50,000.00    50,000.00     50,000.00     50,000.00   600,000.00
Expense
    Automobile Expense             -245.00      -245.00         -245.00        -245.00        -245.00      -245.00       -245.00        -245.00        -245.00      -245.00       -245.00       -245.00     -2,940.00
    Wells Fargo-Auto Loan             0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Title Max Auto Loan            -224.66      -224.66         -224.66        -224.66        -224.66      -224.66       -224.66        -224.66        -224.66      -224.66       -224.66       -224.66     -2,695.92
    Bank Service Charges            -35.00        -35.00          -35.00         -35.00         -35.00       -35.00        -35.00         -35.00        -35.00       -35.00        -35.00        -35.00       -420.00
    Cadence Bank-Mortgage       -22,516.00    -22,516.00      -22,516.00     -22,516.00     -22,516.00   -22,516.00    -22,516.00     -22,516.00    -22,516.00   -22,516.00    -22,516.00    -22,516.00   -270,192.00
    Cadence Bank Prepetition     -1,904.50     -1,904.50       -1,904.50      -1,904.50      -1,904.50    -1,904.50     -1,904.50      -1,904.50     -1,904.50    -1,904.50     -1,904.50     -1,904.50    -22,854.00
    Cadence Bank Post-Pet.       -1,867.58     -1,867.58       -1,867.58      -1,867.58      -1,867.58    -1,867.58     -1,867.58      -1,867.58     -1,867.58    -1,867.58     -1,867.58     -1,867.58    -22,410.96
    Clothing                          0.00         0.00               0.00           0.00         0.00          0.00           0.00        0.00           0.00         0.00          0.00          0.00         0.00
    Food and Housekeeping        -1,659.00     -1,659.00       -1,659.00      -1,659.00      -1,659.00    -1,659.00     -1,659.00      -1,659.00     -1,659.00    -1,659.00     -1,659.00     -1,659.00    -19,908.00
    Insurance-Homeowner          -1,604.56     -1,604.56       -1,604.56      -1,604.56      -1,604.56    -1,604.56     -1,604.56      -1,604.56     -1,604.56    -1,604.56     -1,640.56     -1,640.56    -19,326.72
    Insurance-Car                  -176.09      -176.09         -176.09        -176.09        -176.09      -176.09       -176.09        -176.09        -176.09      -176.09       -176.09       -176.09     -2,113.08
    Lawn & Tree Care               -445.00      -445.00         -445.00        -445.00        -445.00      -445.00       -445.00        -445.00        -445.00      -445.00       -445.00       -445.00     -5,340.00
    Medical Insurance              -906.00      -906.00         -906.00        -960.00        -960.00      -960.00       -960.00        -960.00        -960.00      -960.00       -960.00       -960.00    -11,358.00
    Medical                        -435.00      -435.00         -435.00        -435.00        -435.00      -435.00       -435.00        -435.00        -435.00      -435.00       -435.00       -435.00     -5,220.00
    Miscellaneous                  -130.00      -135.00         -130.00        -130.00        -130.00      -135.00       -135.00        -135.00        -135.00      -135.00       -135.00       -134.00     -1,599.00
    Homeowner Dues/Month           -334.00      -333.00         -334.00        -333.00        -334.00      -333.00       -334.00        -333.00        -333.00      -333.00       -333.00       -333.00     -4,000.00
    Pet-Expense                    -343.00      -525.00         -525.00        -343.00        -343.00      -525.00       -343.00        -525.00        -343.00      -525.00       -343.00       -525.00     -5,208.00
    Pool Maintenance               -216.00      -216.00         -216.00        -216.00        -216.00      -216.00       -234.00        -234.00        -234.00      -234.00       -234.00       -234.00     -2,700.00
    Property Tax/Month           -6,700.00     -6,700.00       -6,700.00      -6,700.00      -6,700.00    -6,700.00     -6,700.00      -6,700.00     -6,700.00    -6,700.00     -6,700.00     -6,700.00    -80,400.00
    Property Taxes Past Due      -5,770.66     -5,770.66       -5,770.66      -5,770.66      -5,770.66    -5,770.66     -5,770.66      -5,770.66     -5,770.66    -5,770.66     -5,770.66     -5,770.66    -69,247.92
    Repairs                      -1,500.00     -1,500.00       -1,500.00      -1,500.00      -1,500.00    -1,500.00     -1,500.00      -1,500.00     -1,500.00    -1,500.00     -1,500.00     -1,500.00    -18,000.00
    Telephone-Internet             -192.00      -192.00         -192.00        -192.00        -192.00      -192.00       -192.00        -192.00        -192.00      -192.00       -192.00       -192.00     -2,304.00
    General Unsecurted Claims    -5,000.00     -5,000.00       -5,000.00      -5,000.00      -5,000.00    -5,000.00     -5,000.00      -5,000.00     -5,000.00    -5,000.00     -5,000.00     -5,000.00    -60,000.00
    Utilities                    -2,450.00     -2,450.00       -2,450.00      -2,450.00      -2,450.00    -2,450.00     -2,450.00      -2,450.00     -2,450.00    -2,450.00     -2,450.00     -2,450.00    -29,400.00
Total Expense                   -54,654.05    -54,840.05      -54,836.05     -54,707.05     -54,708.05   -54,894.05    -54,731.05     -54,912.05    -54,730.05   -54,912.05    -54,766.05    -54,947.05   -657,637.60
Cash at end of Month             -4,654.05     -4,840.05       -4,836.05      -4,707.05      -4,708.05    -4,894.05     -4,731.05      -4,912.05     -4,730.05    -4,912.05     -4,766.05     -4,947.05    -57,637.60
Annual Cumulative                -4,654.05     -9,494.10      -14,330.15     -19,037.20     -23,745.25   -28,639.30    -33,370.35     -38,282.40    -43,012.45   -47,924.50    -52,690.55    -57,637.60
5-Year Cummulative               67,454.35    62,614.30       57,778.25      53,071.20      48,363.15    43,469.10     38,738.05      33,826.00      29,095.95    24,183.90     19,417.85     14,470.80



                                                                                                                                                                                                              Page 7 of 7
